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                             UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF MICHIGAN


PERFECTING CHURCH, MARVIN
WINANS, and CYNTHIA FLOWERS
                                                         Case No. 2:09-cv-13493
                              Plaintiffs,
                                                         Hon. Gerald E. Rosen
vs.

ROYSTER, CARBERRY, GOLDMAN
& ASSOCIATES, INC., MARTIN ROYSTER,
SHANNON STEEL, LLOYD BANKS,
TOINE MURPHY, and SHALAC HOLDINGS LLC

                              Defendants.


Charles E. Murphy (P28909)                        Martin Royster
Eric K. Shih (P71326)                             19710 Chesterfield
CLARK HILL PLC                                    Detroit, MI 48221
Attorneys for Plaintiffs                          (313) 587-0392
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(248) 642-2174 (fax)                              Attorneys for Defendants Lloyd Banks and
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                                                  Shannon Steel
                                                  In Pro Per


                         PLAINTIFFS’ PRELIMINARY WITNESS LIST

        Plaintiffs Perfecting Church, Marvin Winans, and Cynthia Flowers, by their attorneys

Clark Hill PLC, respectfully submit the following preliminary list of witnesses that may be

called to provide testimony in this matter:


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        1.       Marvin Winans;

        2.       Cynthia Flowers;

        3.       Agents, employees, keepers of records, and other representatives of the Perfecting

Church;

        4.       Martin Royster;

        5.       April Royster;

        6.       Shannon Steel;

        7.       Lloyd Banks;

        8.       Toine Murphy;

        9.       Agents, employees, keepers of records, and other representatives of Royster,

Carberry, Goldman & Associates, Inc.;

        10.      Agents, employees, keepers of records, and other representatives of RCG

Financial Group, LLC;

        11.      Agents, employees, keepers of records, and other representatives of RCG

Management, Inc.;

        12.      Agents, employees, keepers of records, and other representatives of RCG

Partners;

        13.      Agents, employees, keepers of records, and other representatives of Shalac

Holdings LLC;

        14.      Agents, employees, keepers of records, and other representatives of the State of

Michigan Department of Energy, Labor and Economic Growth, Office of Financial and

Insurance Regulation and/or other government agencies that have investigated this matter;




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        15.      All witnesses identified by any other party to this action, not otherwise objected to

by Plaintiffs;

        16.      Persons and representatives of entities identified during the course of discovery,

which is ongoing;

        17.      Persons identified by Plaintiffs for purposes of rebuttal.


        Plaintiffs reserve the right to amend their Witness List as discovery in this matter

progresses.


                                                Respectfully submitted,

                                                CLARK HILL PLC



                                        By:     /s/ Eric K. Shih____________________
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                                                Attorneys for Plaintiffs

Date: November 10, 2010




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                                 CERTIFICATE OF SERVICE


        I state that on November 10, 2010, the foregoing paper filed with the Court via the ECF

system which will send notification to all attorneys of record.


                                      By:     /s/ Eric K. Shih________________________
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